      CASE 0:14-cr-00403-PJS-FLN        Doc. 193    Filed 07/13/15    Page 1 of 4




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                      Case No. 14‐CR‐0403(3) (PJS/FLN)

                     Plaintiff,

 v.                                                           ORDER

 TERRELL VONSHAY ROBERSON,

                     Defendant.

      David P. Steinkamp, UNITED STATES ATTORNEY’S OFFICE, for
      plaintiff.

      Scott Cody, TARSHISH CODY, PLC, for defendant.

      Defendant Terrell Roberson pleaded guilty on May 22, 2015, to conspiring to

distribute more than 280 grams of a mixture or substance containing a detectable

amount of cocaine base. The Court ordered Roberson to be detained pending

sentencing, in accordance with 18 U.S.C. § 3143(a). Roberson now moves the Court to

reconsider its detention order and to permit him to remain free (although confined to

his home) pending sentencing. The Court denies the motion.

      Section 3143(a)(2) provides that the court “shall order” a defendant’s detention

pending sentencing when the defendant has been convicted of an offense under the

Controlled Substances Act that carries “a maximum term of imprisonment of ten years

or more,” 18 U.S.C. § 3142(f)(1)(C), unless certain exceptions—not applicable here—are

met. See 18 U.S.C. § 3143(a)(2). However, a defendant detained pursuant to § 3143(a)(2)
       CASE 0:14-cr-00403-PJS-FLN          Doc. 193     Filed 07/13/15    Page 2 of 4




may nevertheless be released pending sentencing if he meets the requirements of 18

U.S.C. § 3145(c).

       Section 3145(c) allows “[a] person subject to detention pursuant to

section 3143(a)(2) . . . , and who meets the conditions of release set forth in

section 3143(a)(1)” to be released, “if it is clearly shown that there are exceptional

reasons why such person’s detention would not be appropriate.” The “conditions of

release set forth in section 3143(a)(1)” entail a finding “by clear and convincing evidence

that the person is not likely to flee or pose a danger to the safety of any other person or

the community if released . . . .” 18 U.S.C. § 3143(a)(1). In short, Roberson—who has

pleaded guilty to an offense under the Controlled Substances Act that carries a

maximum term of imprisonment of ten years or more—may be released pending

sentencing only if two conditions are met: (1) there is clear and convincing evidence

that he will not flee or pose a danger to others, and (2) there are clearly exceptional

reasons why his detention would not be appropriate.

       Roberson has not met either of these conditions. First, the Court cannot find by

clear and convincing evidence that Roberson does not pose a danger to the safety of

others or the community. Roberson has a long and violent criminal history. He has

been charged with, among other crimes, assault with a dangerous weapon, discharge of

a weapon, first‐degree aggravated robbery, fifth‐degree assault, criminal sexual



                                             ‐2‐
      CASE 0:14-cr-00403-PJS-FLN         Doc. 193     Filed 07/13/15    Page 3 of 4




conduct, and carrying a weapon without a permit. He has been convicted of being a

prohibited person in possession of a firearm (a felony) in 2005, evading a police officer

in 2009, and delivery of cocaine (also a felony) in 2012. Imposing a condition of house

arrest—or any other condition of release—will not sufficiently mitigate the danger that

Roberson poses to the safety of others and the community. This alone requires

Roberson’s continued detention.

       Second, Roberson has not clearly shown that there are exceptional reasons why

his detention would not be appropriate. The Eighth Circuit has defined “exceptional

reasons” as “clearly out of the ordinary, uncommon or rare.” United States v. Krantz, 530

F. App’x 609, 610 (8th Cir. 2013) (per curiam) (citing cases). Roberson gives two reasons

for seeking release. First, Roberson is needed to care for his grandmother, who is ill and

requires frequent trips to the hospital. He has been his grandmother’s primary

caretaker because the rest of his family works full time. Second, Roberson is needed to

help care for his young nephew, who has a “brain disability” that makes him unable to

walk. This disability makes it difficult for his nephew’s mother (Roberson’s sister) to

care for her son and keep a job.

       The Court sympathizes with Roberson and admires his desire to help his family.

As a general rule, however, family hardship—including the need to care for close

family members—is not considered an “exceptional reason” that warrants pre‐sentence



                                            ‐3‐
       CASE 0:14-cr-00403-PJS-FLN           Doc. 193     Filed 07/13/15     Page 4 of 4




release. See, e.g., United States v. Nickell, 512 F. App’x 660, 661 (8th Cir. 2013) (per

curiam) (defendant’s caring for three young children and gainful employment were not

exceptional reasons); United States v. Velarde, 555 F. App’x 840, 841 (10th Cir. 2014) (per

curiam) (“[T]he cases establish that mere personal reasons, including caring for a family

or gainful employment, are not ‘exceptional.’” (collecting cases)). Incarceration—

whether before or after sentencing—commonly creates a hardship for the families of

defendants. Roberson’s situation is not “exceptional.”

                                           ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT defendant Terrell Vonshay Roberson’s motion for

release pending sentencing [ECF No. 190] is DENIED.




 Dated: July 13, 2015                            s/Patrick J. Schiltz
                                                 Patrick J. Schiltz
                                                 United States District Judge




                                              ‐4‐
